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                   Exhibit 34
       TTV Harris County Invoice 2020-0929
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           JAMESBOPP, JR.
                                     THE BOPP LAW FIRM, PC
          jboppjr@aol.com
                                              ATTORNEYS AT LAW

                                           Tiffi NATIONAL BUJLDING
                                                  I South Sixth Street
                                         TERRE HAU1E, INDIANA47807-3510
                                     Telephone 812/232-2434 Facsimile 812/235-3685
                                                  www.bopplaw.com




                                             INVOICE
                                         September 29, 2020



True the Vote,Inc.
P. 0. Box 131768
Houston, TX 77219-1768
Attn: Catherine Engelbrecht--President


In Reference To:TTV.Harris County
                Litigation
              Professional Services


                                                                                 Hrs/Rate        Amount


  8/27/2020 REC       E-mail from James Bopp, Jr. regarding need to                    0.10        53.00
                      review county action for challenge; respond                    530.00/hr

             REC      Review article regarding Harris County expanded                  1.70       901.00
                      voting plan; research Texas law regarding authority            530.00/hr

             REC      Legal research in articles regarding issue and Texas             1.00       530.00
                      statutes                                                       530.00/hr

             REC      Phone conference with James Bopp, Jr. regarding                  0.20       106.00
                      matter status and needs and theories                           530.00/hr
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True the Vote, Inc.                                                                        Page 2


                                                                             Hrs/Rate      Amount


   8/27/2020 REC       Legal research regarding Texas statutes etc.; audit       3.00      1,590.00
                       commissioners court hearing regarding election          530.00/hr

              REC      E-mail to James Bopp, Jr. regarding preliminary           0.10        53.00
                       finding regarding 24-hour poll opening                  530.00/hr

              REC      E-mail to Angela Stuedemann regarding research            0.20       106.00
                       status and needs                                        530.00/hr

              AS      E-mail to James Bopp, Jr. regarding Harris County          0.20        54.00
                                                                               270.00/hr

              AS      Compiling Harris County documents                          1.90       513.00
                                                                               270.00/hr

              AS      Phone call to Harris County regarding obtaining            0.10        27.00
                      copy of Commissioner's Court Order                       270.00/hr

             AS       E-mails to Harris County Clerks Office regarding          0.10         27.00
                      obtaining copy of Commissioner's Court Order            270.00/hr

             AS       E-mail James Bopp, Jr. and Richard E. Coleson             0.10         27.00
                      regarding compiling Harris County documents             270.00/hr

             AS       Phone conferences with James Bopp, Jr. regarding          0.20         54.00
                      Harris County                                           270.00/hr

             AS       Work on compiling and review Harris County                0.20         54.00
                      documents                                               270.00/hr

             AS       Phone conference with James Bopp, Jr. regarding           0.10         27.00
                      Harris County                                           270.00/hr

             AS       E-mails to James Bopp, Jr. regarding Harris               0.20         54.00
                      County document search                                  270.00/hr

             AS       Phone conference with Courtney E. Milbank                 0.20        54. 00
                      regarding getting Harris County documents               270.00/hr
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True the Vote, Inc.                                                                     Page 3


                                                                         Hrs/Rate       Amount


   8/27/2020 AS        Phone call with Harris County Clerk's office          0.10         27.00
                       regarding obtaining documents                       270. 00/hr


              JB       Review articles; email exchange with Catherine;       0.50        315.00
                       email Angela Stuedemann regarding research          630. 00/hr


              JB       Research counsel; phone conference with Brock         0.70        441.00
                       regarding local counsel                             630.00/hr


             JB        Review video of Harris County Meeting                 0.50        315.00
                                                                           630.00/hr


             JB       Phone conference with Richard E. Coleson               0.20       126.00
                      regarding matter status and needs and theories       630.00/hr


             JB       Phone conferences with Angela Stuedemann               0.20       126.00
                      regarding Harris County                             630.00/hr


             JB       Phone conference with Angela Stuedemann                0.10        63.00
                      regarding Harris County                             630.00/hr


             CEM Phone conference with Angela Stuedemann                     0.20        62.00
                 regarding getting Harris County documents                310.00/hr


  8/28/2020 REC       E-mails with Angela Stuedemann regarding               0.10        53.00
                      Governor's proclamation regarding early voting      530. 00/hr


             REC Review early voting proclamation                           0.10         53.00
                                                                          530.00/hr


            REC       Phone conference with James Bopp, Jr. regarding       0.30        159. 00
                      research status and needs                           530.00/hr


            REC       Legal research regarding Texas election system        0.40        212. 00
                                                                          530.00/hr


            REC E-mails with Angela Stuedemann regarding                    0.10         53.00
                research question and county plan                         530.00/hr
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True the Vote, Inc.                                                                        Page 4


                                                                             Hrs/Rate      Amount


   8/28/2020 REC       Legal research and review documents regarding             0.60       318.00
                       possible challenge; prepare and send email to           530.00/hr
                       James Bopp, Jr. and Angela Stuedemallll regarding
                       24-hour voting session


              REC      Review and annotate parts of Texas election law           0.60       318.00
                                                                               530.00/hr


             REC       Research clerk notices and review statutes                2.20      1,166.00
                                                                               530.00/hr


             REC      Review emails from James Bopp, Jr. and Angela              0.10        53.00
                       Stuedemann regarding case needs                        530.00/hr


             REC      Review Secretary of State's election regulations for       0.80       424.00
                      any further useful material, especially regarding       530.00/hr
                      approval issues


             REC      Further review of Texas statutory election                 0.50       265.00
                      provisions                                              530.00/hr


             AS       Phone call to Harris County Clerk's office                 0.40       108.00
                      regarding obtaining documents                           270.00/hr


             AS       E-mails to James Bopp, Jr. and Richard E. Coleson         0.30         8 1.00
                      regarding obtaining documents                           270. 00/hr


             AS       Phone call with Harris County Clerk's Office              0. 10        27.00
                                                                              270.00/hr


            JB        E-mail exchange with Richard E. Coleson                   0.30        189.00
                      regarding proposal                                      630.00/hr


            JB        Review proposal                                           0.50        315.00
                                                                              630.00/hr


            JB        Phone conference with Richard E. Coleson                  0.30        189.00
                      regarding research status and needs                     630.00/hr
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 True the Vote, Inc.                                                                            Page 5


                                                                               Hrs!Rate         Amount


    8/3112020 REC      Review documents regarding proposals by Harris              1.10            583.00
                       County Clerk and Bush v. Gore and consider                530.00/hr
                       possible challenges

               REC     E-mail to James Bopp, Jr. and Angela Stuedemann             0.10              53.00
                       regarding case analysis                                   530.00/hr

               REC     Second email to James Bopp, Jr. and Angela                  0.10              53.00
                       Stuedemann regarding case analysis                        530.00/hr

               REC     E-mails with James Bopp, Jr. regarding case status          0.10              53.00
                       and needs                                                 530.00/hr

               REC     Phone conference with James Bopp, Jr. regarding            0.20             106.00
                       project analysis                                         530.00/hr

               REC     Prepare and send e-mail to James Bopp, Jr.                 0.20            106.00
                       regarding research and analysis                          530.00/hr

              JB       Review emails from Richard E. Coleson; phone               0.40            252.00
                       conference with Richard E. Coleson regarding no          630.00/hr
                       case



              For professional services rendered                                 22.00       $10,894.00

              Balance due                                                                    $10,894.00



                                         Attorney Summary
Name                                                                Hrs/Rate     Rate    __  ..=-=c:. Am=o=un=t
Angela Stuedemann                                                       4.20   270.00              $1,134.00
Courtney E. Milbank                                                     0.20   310.00                  $62.00
Richard E. Coleson                                                     13.90   530.00              $7,367.00
James Bopp, Jr.                                                         3.70   630.00              $2,331.00
